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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

  KENNETH C. GRIFFIN,

                   Plaintiff,

                         v.                             Case No. 1:22-cv-24023-Scola/Goodman

  INTERNAL REVENUE SERVICE and U.S.
  DEPARTMENT OF THE TREASURY,

                   Defendants.




                              NOTICE OF SELECTION OF MEDIATOR

         PLEASE TAKE NOTICE that, in accordance with this Court’s June 6, 2023 Scheduling

  Order and Order of Referral to Mediation requiring that “[t]he parties must agree upon a mediator

  within 60 days from the date of this Order” (ECF No. 30 at 5), the Parties in the above-captioned

  action, by and through their undersigned counsel, respectfully provide notice that they have agreed

  upon Elaine E. Feldman, Esq. of Salmon & Dulberg Dispute Resolution, 1395 Brickell Avenue,

  Suite 800, Miami, Florida 33131, to serve as a mediator in this action.

  Date: August 7, 2023                  Respectfully Submitted,


                                        For Plaintiff
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                                           Of counsel:
                                           MARKENZY LAPOINTE
                                           United States Attorney
                                           Southern District of Florida


                                    CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that, on this 7th day of August, 2023, I filed a copy of the foregoing

  document with the Clerk of Court using the CM/ECF electronic filing system, which will send

  notification to all counsel of record.


                                                  By: /s/ Jason D. Sternberg
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